     Case 1:25-cv-02347-ENV-RML                         Document 4            Filed 04/28/25      Page 1 of 1 PageID #: 20

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                    for the
                                                      Eastern District
                                                    __________         of of
                                                                District  New  York
                                                                             __________

                      MARCO AQUINO                                    )
                                                                      )
                                                                      )
                                                                      )
                            Plaintiff(s)                              )
                                v.
                                                                      )
                                                                               Civil Action No.   1:25-cv-02347-ENV-RML
                                                                      )
  WOODHULL TOWERS CAFE CORP., GEORGE                                  )
      PREPIS, and ANDREA NICOLAOS                                     )
                                                                      )
                                                                      )
                           Defendant(s)                               )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Woodhull Towers Cafe Corp.                        George Prepis
                                           760 Broadway                              c/o Woodhull Towers Cafe Corp.
                                           Brooklyn, NY 11206                        760 Broadway
                                                                                     Brooklyn, NY 11206
                                           Andrea Nicolaos
                                           c/o Woodhull Towers Cafe Corp.
                                           760 Broadway
                                           Brooklyn, NY 11206

          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                       Robert Wisniewski, Esq.
                                       17 State Street, Suite 820
                                       New York, NY 10004




       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

                                                                                  BRENNA B. MAHONEY
                                                                                  CLERK OF COURT


Date:     4/28/2025                                                                s/Kimberly Davis
                                                                                            Signature of Clerk or Deputy Clerk
